       Case 2:12-cr-00169-TLN Document 206 Filed 12/12/13 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                  No. 2:12-cr-00169-MCE-5
12                   Plaintiff,
13         v.                                   ORDER
14   CLIFFORD BULLOCK,
15                   Defendant.
16

17         Upon further review, this Court’s Order Granting Defendant’s Motion for

18   Temporary Release to Attend Funeral Services (ECF No. 205) is RESCINDED, and

19   Defendant’s Motion (ECF No. 203) is hereby DENIED .

20         IT IS SO ORDERED.

21   Dated: December 12, 2013

22

23

24

25

26

27

28
                                               1
